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6
                                UNITED STATES DISTRICT COURT
7                              EASTERN DISTRICT OF WASHINGTON

8     UNITED STATES OF AMERICA,
9
                       Plaintiff,               NO. CR-09-2074-LRS-4
10
                 v.
11                                              ORDER GRANTING MOTION TO
      NICOLAS ROHRBACH,                         DISMISS
12
                       Defendant.
13

14
          BEFORE THE COURT is Defendant Rohrbach’s Motion to Dismiss, Ct. Rec.
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     323, filed April 27, 2010.       On April 29, 2010, a jury acquitted Defendant
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     on Count 12 of the Superceding Indictment (Ct. Rec. 313) and a mistrial
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     was declared on Count 13 (Ct. Rec. 318).                  Defendant seeks to dismiss
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     Count 13 based on Double Jeopardy for the alleged unlawful sale of a
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     different firearm sold under the same facts known to the jury for the
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     firearm sold in Count 12.        A hearing on the motion was held on June 4,
21

22   2010.

23        On June 7, 2010, the Court held a telephonic hearing to deliver its

24   ruling upon said motion that was placed under advisement on June 4, 2010.

25   With the benefit of briefing and supplemental briefing from both the
26   government and Defendant, and reviewing the transcripts from the trial,


     ORDER - 1
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1    the Court enters the following order, which is designed to memorialize
2    and supplement the oral rulings of the Court on June 7, 2010 which are
3    incorporated herein by reference.          The evidence for both Counts 12 and
4    13 is inextricably intertwined and cannot be parceled out for a trial on
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     Count 13.    The Court finds that any verdict of guilt on Count 13 would
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     of necessity require redetermination of factual issues which were found
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     in the defendant’s favor at the time of trial on Count 12.               Based on the
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     foregoing, and for the reasons set forth orally on the record,
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          IT IS HEREBY ORDERED:
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          1. Defendant’s Motion to Dismiss, Ct. Rec. 323, is GRANTED.                   Count
11

12   13 is DISMISSED with prejudice.

13        2. Any remaining motions are denied as moot.
14        3. The trial date of September 27, 2010 and all other dates are
15   VACATED.
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          IT IS SO ORDERED. The District Court Executive is directed to enter
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     this order and to provide copies to counsel.
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          DATED this       7th     day of June, 2010.
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                                                  s/Lonny R. Suko
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                                   ________________________________________
22                                                  LONNY R. SUKO
                                            Chief United States District Judge
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     ORDER - 2
